                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

  DIEGO PAVIA,                                           )
                                                         )
          Plaintiff,                                     )
                                                         )
          v.                                             )    Case No. 3:24-cv-01336
                                                         )    Judge William L. Campbell, Jr.
  NATIONAL COLLEGIATE ATHLETIC                           )
  ASSOCIATION,                                           )
                                                         )
         Defendant.                                      )


                           MOTION FOR
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65.01, Plaintiff Diego Pavia

files this Motion for Temporary Restraining Order and Preliminary Injunction to enjoin the

National Collegiate Athletic Association (“NCAA”), from enforcing NCAA Bylaws 12.8 (the

“Five-Year Rule”), 12.02.6 (the “Intercollegiate Competition Rule”), and 14.3.3 (the “Three Year

Limitation”), (collectively referred herein as the “JUCO Limitation Bylaws”), against Diego Pavia

to prevent him from playing college football in the 2025-26 season based on his attendance at

junior college during the 2020 and 2021 football seasons. Absent such provisional relief, Pavia

will suffer immediate and irreparable harm as supported by the contemporaneously filed

Declarations of Diego Pavia, Vanderbilt football coach, Clark Lea, and Paul Grindstaff, and Pavia’s

Memorandum of Law in support of the Motion. Plaintiffs respectfully request that this Court enter

an order enjoining Defendant from enforcing the JUCO Limitation Bylaws against Pavia pending

entry by the Court of a final judgment in this action.

       Furthermore, for temporary and preliminary injunctive relief against the JUCO Limitation

Bylaws to be effective, Pavia also respectfully requests that the Court enjoin the NCAA from




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enforcing Bylaw 12.11.4.2. This bylaw allows Defendant to punish its member institutions when

a college athlete who is ineligible for competition participates in games pursuant to a court order

allowing the college athlete’s participation if the court order is later vacated, reversed, or otherwise

invalidated. Thus, Plaintiffs further request that this Court enjoin Defendant from retaliating

and/or implementing NCAA Bylaw 12.11.4.2 against Pavia or any NCAA member institutions for

conduct allowed by any temporary or preliminary injunctive relief that this Court may issue.

       In support of this Motion, Pavia relies upon and files contemporaneously with his Motion

a Memorandum of Law in Support and supporting Declarations.1

                                                       Respectfully submitted,

                                                       /s/ Salvador M. Hernandez
                                                       Ryan Downton (Pro Hac Pending)
                                                       Texas Bar No. 24036500
                                                       The Texas Trial Group
                                                       875 Carr 693, Ste. 103
                                                       Dorado, PR 00646*
                                                       Phone: 512-680-7947
                                                       Ryan@TheTexasTrialGroup.com
                                                       *Ryan Downton is licensed in Texas, not Puerto Rico

                                                       and

                                                       Salvador M. Hernandez (TN #020121)
                                                       Milton S. McGee, III (TN # 024150)
                                                       Riley & Jacobson, PLC
                                                       1906 West End. Ave.
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1
 Pavia may support his motion with declarations rather than affidavits pursuant to 28 U.S.C. §
1746.


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       ATTORNEY CERTIFICATION OF NOTICE PURSUANT TO RULE 65(b)(1)

        The undersigned certifies that counsel provided notice of the Motion for temporary

restraining order, including a copy of the Complaint and the Memorandum of Law in Support to

Jared Tidemann, the NCAA Director of Legal Affairs and Senior Counsel of Government Relations

and Sports Administration via email at 10:20 a.m. today, November 8, 2024. At 11:30 a.m.

today, November 8, 2024, Mr. Tidemann confirmed receipt of the Motion, Complaint and

Memorandum of Law in Support. The undersigned further certifies that counsel for Pavia, Ryan

Downton, has been discussing this matter and the immediate and irreparable harm to Pavia with

Mr. Tidemann since October 30, 2024, but the Parties have been unable to agree on a resolution

satisfactory to all parties.

        Pursuant to Rule 65(b)(1), the undersigned counsel certifies that no further notice should

be required because Pavia will continue to suffer immediate and irreparable injury before the

NCAA can be heard in opposition, which injury Pavia has shown and supported through specific

facts verified by filed Declarations.

                                             /s/ Salvador M. Hernandez
                                             Salvador M. Hernandez




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served upon the following

person(s) via e-mail prior to filing on the ECF system and U.S. Mail on the 8th day of November

2024:

        Jared Tidemann
        Director of Legal Affairs
        Senior Counsel of Government Relations & Sports Administration
        National Collegiate Athletic Association
        PO Box 6222
        Indianapolis, IN 46206-6222
        jtidemann@ncaa.org

                                              /s/ Salvador M. Hernandez
                                              Salvador M. Hernandez




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